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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                No. 23 CR 177
              v.
                                                Judge Matthew F. Kennelly
 ANTHONY EARLEY


               PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     Certain materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case contain particularly

sensitive information (“Sensitive Information”). Sensitive Information includes, but

is not limited to: (1) nonparty names, addresses, dates of birth, driver’s license

numbers, social security numbers, and other identifying information; (2) statements

by, and reports from interviews of, witnesses and individuals who have been or are

cooperating with the government’s investigation; and (3) any information that might

disclose the identity of a witness or cooperating individual.

      2.     All materials containing Sensitive Information (“the materials”) are

subject to this protective order and will be plainly marked as sensitive by the

government prior to disclosure. Defendant and defendant’s counsel shall not disclose

the materials or their contents directly or indirectly to any person or entity other than

persons employed to assist in the defense, persons who are interviewed as potential
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witnesses, counsel for potential witnesses, and other persons to whom the Court may

authorize disclosure (collectively, “authorized persons”). Potential witnesses and

their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.

      3.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      4.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      6.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in


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effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      7.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      8.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case.

      9.     Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         MATTHEW F. KENNELLY
                                         DISTRICT COURT JUDGE
                                         United States District Court
                                         Northern District of Illinois

Date: 4/6/2023


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